                Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 1 of 18




            1 Marquis Aurbach Coffing
              Craig R. Anderson, Esq.
            2 Nevada Bar No. 6882
              10001 Park Run Drive
            3 Las Vegas, Nevada 89145
              Telephone:(702) 382-0711
            4 Facsimile:(702)382-5816
              canderson@maclaw.com
            5   Attorneys for Defendants LVMPD,Crumrine, Tran, and Flores
            6                           UNITED STATES DISTRICT COURT
            7                                  DISTRICT OF NEVADA
            8 ~ TRINITA FARMER,                                                Case Number:

            9                               Plaintiff,                  2:18-cv-00860-GMN-VCF

           10          vs.
                                                                LVMPD DEFENDANTS'RESPONSE
~          11 LAS VEGAS METROPOLITAN POLICE                      TO PLAINTIFF'S OBJECTION TO
z             DEPARTMENT,a political subdivision of               MAGISTRATE FERENBACH'S
w     ~    12 the State of Nevada; KENNETH LOPERA,              ORDER(ECF NO.481 PURSUANT TO
O     °°      individually; TRAVIS CRUMRINE,                              LR IB 3-1(A)
V   ~ N    13 individually; MICHAEL TRAN,individually
    ~ M
              and MICHAEL FLORES,individually,
U Q~°
  ~b~ ~    14
                                        Defendants.
~ ~zQ
  a
    w      15
    ~~
~ o>~
    N
      16               Defendants, Las Vegas Metropolitan Police Department("LVMPD"), Officer Travis
~   a °~
~    0 17 Crumrine, Officer Michael Tran, and Officer Michael Flores, by and through their attorney
a
~          18 of record, Craig R. Anderson, Esq. of Marquis Aurbach Coffing, hereby file their response

           19 to Plaintiff's Objection to Magistrate Ferenbach's Order(ECF No. 48)Pursuant to LR IB 3-

           20 1(a). (ECF No. 51.)

           21                   MEMORANDUM OF POINTS AND AUTHORITIES
           22 I.      INTRODUCTION
           23          This is a 42 U.S.C. § 1983 a lawsuit. On May 14, 2017, Tashii Farmer ("Decedent")
           24 died during a struggle with LVMPD officers. Plaintiff Trinita Farmer ("Plaintiff') is the

           25 ', Decedent's mother. According to her lawsuit, the LVMPD officers violated her Fourteenth

           26 Amendment right to a familial relationship with her adult son.

           27
                                                         Page 1 of 12
                                                                          MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                     Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 2 of 18




                 1          Because LVMPD officers were involved in the Decedent's passing, LVMPD
                 2 conducted a thorough and comprehensive investigation into the incident. All of the factual

                 3 evidence obtained during the investigation has been provided to the plaintiff. In addition,

                 4 LVMPD has produced all policy changes, allowed testimony regarding any and all

                 5 discipline the officers received, and produced all related training.

                 6          During discovery, LVMPD did object to producing its internal Critical Incident
                 7 Team Report ("GIRT Report") and LVMPD's Critical Incident Review Process ("CIRP")

                 8 memorandums arguing they were protected by the Deliberative Process Privilege. LVMPD

                 C] also withheld defendant Kenneth Lopera's GIRT statement due to defendant Lopera's

                10 assertion of his Fifth Amendment rights. Plaintiff filed a motion to compel LVMPD's GIRT

~               11 Report, CIRP memorandums,and Lopera's GIRT statement.
~~,
w          ~ 12             On February 19, 2019, Magistrate Judge Ferenbach entertained oral argument on
~         ~~ 13 plaintiff's motion to compel. After reviewing the pleadings and entertaining oral argument,
      N    M


  Q~~ 14 Judge Ferenbach correctly held that LVMPD's internal analysis and deliberations regarding
  ~~
~ ~zd 15 its policies and procedures was protected by the deliberative process privilege. Magistrate
~a~~

~ .-.
  o>~ `~ N
           16 Ferenbach ordered LVMPD to redact all protected information and produce the redacted
~         a W


~          0 17 GIRT Report and CIRP memorandums. The LVMPD defendants complied with Magistrate
Oi
~               18 Ferenbach's order and produced redacted copies of the GIRT Report and CIRP

                19 memorandums and, LVMPD also produced defendant Kenneth Lopera's compelled GIRT

                20 statement.
                21          Plaintiff now objects to Judge Ferenbach's order arguing that she is entitled to the
                22 redacted information.

                23 II.      LEGAL STANDARDS
                24          Both Fed.R.Civ.P. 72 and Local Rule IB 3-1 provide that a district court judge may
                25 "reconsider any pre-trial matter referred to a magistrate judge ...where it has been shown

                26 that the magistrate judge's ruling is clearly erroneous to contrary law." See Local Rule IB

                27 1(a)(emphasis added). A finding is "clearly erroneous" when although there is evidence to
                                                             Page 2 of 12
                                                                                 MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                    Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 3 of 18




              1 support it, where the reviewing court after reviewing the evidence is left with a definite and

              2 firm conviction that a mistake has been committed. See Ideal Elec. Co. v. Flowserve Copp.,

              3 230 F.R.D. 603 (D.Nev. 2005). An order is contrary to law "when it fails to apply or
             4 misapplies relevant statutes, case law or rules of procedure." Manley v. Zimmer, 3:11-cv-

              5 00636-RCJ-WGC, 2014 WL 4471662, *4 (D.Nev. 2014)(citing Tompkins v. R.J. Reynolds

             6 Tobacco Co., 92 F.Supp. 2d 70, 74(N.D.N.Y. 2000)).

              7 III.     LEGAL ARGUMENT                                                                                  ~,

              81         Plaintiff objects to Magistrate Ferenbach's Order arguing that the portions of

                   LVMPD's CIRT Report and CIRP memorandums that are protected by the deliberative
             10 process privilege should be produced. Specifically, plaintiff claims that:(1) GIRT detective

~            11 Kasey Kirkegard's deposition testimony defeats the privilege, (2) Magistrate Ferenbach
~~
w      ~ 12 failed to take into account defendant LVMPD's policies, and (3) Magistrate Ferenbach
O      `°
U     ~~ 13 failed to take into account any case law.
     N ~ M



   ~~ 14
UQ~~                     A.     THE DELIBERATIVE PROCESS PRIVILEGE AND THE GIRT
~ _ ><                          PROCESS
pq ~ ~
~/ a zw 15
~ ~~                      1.      The federal common law recognizes a deliberate process privilege.
~ o>~ 16
~~~~
►~    a M         The federal common law recognizes a deliberate process privilege. Federal Trade
~   N 17
O~        Comm'n v. Warner Commc'ns, Inc., 742 F.2d 1156, 1161 (9th Cir. 1984). The purpose of
~     18
►_~       this privilege is to enhance and support communication incidental to improving the quality
      f[l
          of governmental policies, procedures and practices. Id. citing NRLB v. Sears, Roebuck &
      20
          Co., 421 U.S. 132, 150 (1975). The deliberative process privilege extends to documents
      21
          which "reflect advisory opinions, recommendations and deliberations comprising part of a
      22
          process by which government decisions and policies are formulated." Id. citing NRLB,421
      23
          U.S. at 150. The ultimate purpose of the privilege is to protect the quality of agency
      24
          decisions by promoting frank and independent discussion among those responsible for
      25
          governmental decision-making. Warner Conzmc'ns, 742 F.2d at 1161.
      26

             27
                                                         Page 3 of 12
                                                                            MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                 Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 4 of 18




            1          Two threshold requirements must be first met prior to proceeding to the ultimate
            2 analysis involving a balance between the competing interests in confidentiality versus

            3 disclosure. First, the information must be "pre-decisional" - -meaning that it must exist as a

            4 foundational element of the deliberative process in which the material was utilized. Id. In

            5 this case, the entire CIRT process and creation of the CIRT Report took place in advance of

            6 the final decision making of the Sheriff and the subsequent officer discipline. Thus, the

            7 CIRT Report and CIRP easily satisfy the first threshold requirement.

                       The second inquiry is whether the material is "deliberative in nature, containing

                opinions, recommendations or advice about agency policies." Id. When the information is
           10 "purely factual" and "does not reflect deliberative process," it is not protected. Id.

~          11          Once these two threshold requirements are met, a court is then instructed to analyze
z
w      ~ 12 ~ the material under a four part balancing test:

~  ,~ N 13
U ~~M                  (1)     The relevance ofthe evidence;

UQ~~ 14
~_~`                   (2)     The availability of other evidence;
  ~~~
~ ~zw 15               (3)     The government's role in the litigation; and
]a~~

~ o>~
  ~-. ~ N
          16           (4)     The extent to which disclosure would hinder frank and independent
~     a~


~      O I/            discussion regarding contemplated policies and decisions.
~
~`~        18          Wainer Commc'ns,742 F.2d at 1161. Judge Ferenbach viewed the CIRT Report and

           19 CIRP memorandums in camera and concluded the deliberative process privilege protected

           20 sections that involved policy analysis and recommendations.

           21                  2.     LVMPD'S CIRT report and CIRP documents are protected by
                                      the deliberative process nrivile~e.
           22
                       GIRT was specifically created with the deliberative process privilege in mind.
           23
                Sheriff Joseph Lombardo Declaration attached as Exhibit A at ¶¶3-6. On the date of the
           24
                subject incident, LVMPD had detailed policies and practices regulating internal
           25
                investigations and internal evaluations concerning officer involved deaths and other critical
           26
                incidents. The purpose of these policies is to improve the internal and external review
           27
                                                         Page 4 of 12
                                                                              MAC:14687-087 3673037 13/19/2019 11:39 AM
                Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 5 of 18




           1 process while simultaneously respecting the personal rights of officers and the deliberations

           2 of LVMPD's top highest ranking officials. The following briefly addresses the policies and

           3 procedures that were utilized regarding the subject case.

           4                         a.     The GIRT Team

           5          LVMPD has two distinct tracks of review. The first track is conducted by LVMPD's

           6 Force Investigation Team ("FIT"). Ex. A at ¶9. The purpose of the homicide investigation

           7 is to gather all available information and evidence to assist the District Attorney's Office in

           8 determining whether any criminal conduct occurred during the critical incident. Id. at X10.

           9 In the Farmer case, Det. Trevor Alsup was the lead FIT investigator. Ex. A at ¶9.

          10          The second track of review is handled by LVMPD's CIRT. Ex. A at ¶10. The
~         11 purpose of the GIRT investigation is purposefully distinct from the FIT team. Id. GIRT is a
z
w     ~ 12 team of full-time employees who conduct a mandatory investigation into all critical
O
V
      `°
      ~' 13 incidents. CIRT was specifically created with the deliberative process privilege in mind. Id.
    ~ N
    ~ M


U Q~° ~ 14 at ¶3-6. The team and its purpose is designed to allow for candid and honest dialogue within
~~~~
~X°~'~
~/ ~zw 15 LVMPD to allow for the creation or modifications of LVMPD's policies and training. Id. at
~a~~

~ a>~ 16 ¶10. In other words, the purpose of CIRT is to act as aself-critical process to assist in
~~~~
~  aM
    0 17 improving and evaluating LVMPD's policies and training. Thus, the FIT investigation is a
Oi
~     18 traditional investigation looking at criminality, while the CIRT tract is an "administrative"

          19 evaluation ofthe incident.

          20          Although the FIT and CIRT investigations are distinct and independent, there is

          21 obviously some commonality between the two processes. Ex. A at ¶11. LVMPD policy

          22 establishes the general protocol for both.        Once a critical incident occurs, it is the

          23 responsibility of any officers on the scene to secure the scene and immediately notify

          24 LVMPD communications and a supervisor. Id. at ¶12. The first supervisor on scene

          25 assumes responsibility as the "Incident Commander." Id. at ¶13. In this capacity, the first

          ~~ supervisor addresses the most immediate and urgent needs, such as directing medical

          27 attention to those who need it and continuing security of the scene. In conjunction, the first
                                                       Page 5 of 12
                                                                          MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                 Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 6 of 18




            1 supervisor is directed to obtain a "Public Safety Statement" from officers. Id. The public

            2 safety statement consists of responses to apre-defined series of questions which are as

            3 1 follows:

            4          1.      Is anyone injuxed? If so, where are they located?

            5          2.      Are there any outstanding suspects? If so, what is their description, direction

            6 and mode of travel? How long have they gone? What crimes) are they wanted for? What

            7 weapons are they armed with?

            8          3.      Were you involved in an officer involved shooting?

            9          4.      Approximately where were you when you fired the rounds?

           10          5.      Approximately how many rounds did you fire and in what direction did you

~          11 fire them?
z
w      ~ 12            6.      Do you know if any other officers fired any rounds?
~
V ~~M ~ 13
     ~~           7.      Is it possible the suspect fired rounds at you? If so, from what direction were

V Q~°~  14 the rounds fired?
~  _ ~~
~~~~
~/ ~zw 15
~a~~              8.      Are there any weapons or evidence that needs to be secured/protected?
~ o>~
  --~ c~ N
           16 ~ Where are they located?
~     a~
~      ~ 17            9.      Are you aware of any witnesses? If so, what is their location?
~          18          The information acquired in the Public Safety Statement is consistent with the initial
►-~
           19 objectives and responsibilities of the first supervisor: (1) determine the number and identify

           20 of those needing medical attention; (2) determine information about suspects who are not

           21 I, accounted for; and (3) gather information necessary to secure the scene for further

           22 investigation. Id. at ¶14.

           23          While the first supervisor is performing these tasks, LVMPD Communications
           24 Section is responsible for notifying the personnel who are to respond to the scene. Among

           25 others, FIT and CIRT are notified. Id. at ¶15. Once all essential personnel are on scene, an

           26 initial briefing is held. Both FIT and CIRT attend the initial briefing. Id. at ¶¶16-17.

           27
                                                        Page 6 of 12
                                                                           MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                     Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 7 of 18




                1          Following that, FIT coordinates awalk-through of the scene with the involved
                2 officer. Id. at ¶17. If there is more than one officer involved, multiple walk-throughs will

                3 be conducted. The walk-through is designed to identify locations where physical evidence

                4 might be found and to provide the FIT investigators with a general understanding of the

                5 scene. Id. at ¶17. The walk-throughs are not recorded. GIRT is excluded from the walk-

                6 through procedure, but is briefed on it by the homicide investigators. Id. CIRT is also given

                7 an opportunity to perform its own walk-through after FIT.            Id.    At that point, the

                    responsibilities and protocol of FIT and GIRT differ. Id. at ¶18. FIT continues its

               0 investigation until completion and then presents the information to the District Attorney's
               101 Office. CIRT's involvement remains solely internal.
~              11          The critical differences between FIT and CIRT procedures are two-fold. First, the
~~
w        ~ 12 purpose and objective of the FIT process is to gather information necessary to determine

~      ~, ~ 13 whether any conduct of an officer involved in the critical incident constitutes a criminal act.
      N ~ M
     .~0~~",

UQ~~           14 Id. at ¶19. The purpose and objective of the CIRT process is to evaluate the application,
    ~~~
~~~~           15 misapplication, lapse or neglect of training, policies and procedures in order to determine
~a~~"
~    ~~
~ o>~          16 whether modifications of any internal rules or practices are required. Id. And, second,
cn~~~
FBI  -a M

~      0       17 given the criminal nature ofthe FIT process, officers are -and must be -afforded the right to
O~
~              18 decline to submit to an interview. Id. at X19. On the contrary, given the administration
~~
               19 nature of the CIRT process, officers involved in a shooting are compelled to submit

               20 themselves to an interview as they are in the best position to assist in the improvement of

               21 internal procedures. Id. at ¶20. Officers face termination if they refuse to give a CIRT

               22 statement. FIT is required to share all of its information with CIRT. CIRT, on the contrary,

               23 is strictly prohibited from sharing compelled information from involved officers with FIT.

               24 Id.

               25          Once FIT's investigation is complete, it turns its FIT Report and accompanying

               26 evidence to the District Attorney's Office for review. The District Attorney then determines

               27
                                                           Page 7 of 12
                                                                             MAC:11687-087 3673037 1 3/19/2019 11:39 AM
                     Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 8 of 18




                1   whether criminal charges are necessary and then it holds a Fatality Review Board to make

                2 ~ its findings public.

                3           After the District Attorney makes its final decision and releases the FIT file back to

                4 LVMPD, the CIRT team finishes its internal investigation. The GIRT team uses the FIT

                5 Report and the statements CIRT compelled from involved officers. After obtaining all

                6 factual evidence, the CIRT team then creates its CIRT Report. Id. at ¶24. The purpose of

                7 the CIRT Report is to report the facts of the incident and then analyze the facts for potential

                81 tactical errors, training errors, and/or policy violations. The CIRT team then recommends to

               0 the sheriff any new training and/or new policies it believes may be necessary and/or

               101 '~, beneficial to LVMPD.     Id. at ¶26.     The CIRT team members are assured of the

~              11 I confidentiality of their reports and forbidden to disseminate the report.              Id. at ¶26.

w        ~ 12 Obviously, the reason behind this confidentiality is to ensure the CIRT team is candid and
O       °°
V      ~~ 13 honest regarding their evaluation and not concerned with potential legal or internal fallout
      N ~ M
     .~ Q~ ~

UQ~~ 14 resulting from their decisions/opinions. Thus, the goal of the CIRT Report is to candidly
~~~~
~ ~zw 15 evaluate LVMPD's policies and procedures, identify potential problem areas, and make
~a~~

~ o>~
  ~--~ ~ N
           16 recommendations to the sheriff regarding policy and training. Id.
~      a~


~         N 17                             b.     The CIRP Process
O~
~              18           After the CIRT Report is completed, the next step is the Critical Incident Review
►~
               19 Process ("CIRP"). The CIRT Report identifies specific officers who must attend and

               20 participate in the CIRP process. Id. at ¶¶27-33. Prior to the CIRP, the summoned officers

               21 are allowed to view the CIRT Report. They do not receive a copy of the CIRT Report. Id.

               22 at ¶29.

               23           CIRP is conducted in two parts. The first part is the Use of Force Review Board

               24 ("UFRB"). UFRB evaluates only the actions of the officers) who actually used force (in

               25 this case Lopera, Crumrine, Tran and Flores). Id. at ¶28. The UFRB does not involve

               26 tactical issues and does not evaluate policy. After the UFRB ends, the second part occurs.

               27 The second part is called a Tactical Review Board ("TRB"). Id. at ¶28. The TRB evaluates
                                                              Page 8 of 12
                                                                                MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                         Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 9 of 18




                   1 the tactics employed during the officer involved shooting.          The TRB evaluates the

                   2 performance of any officer involved in the scenario. No reports are created during the

                   3 CIRP. Id. at ¶30.

                   4           S.     PLAINTIFF'S OBJECTIONS ARE NOT WELL TAKEN AND
                                      MAGISTRATE FERENBACH'S ORDER IS NOT "CLEARLY
                   51                 ERRONEOUS OR CONTRARY TO LAW.

                   6                  1.     Detective Kirke~ard's testimony is irrelevant.

                   7           LVMPD CIRT detective Kasey Kirkegard was the detective in charge of the Farmer

                   8 case. Detective Kirkegard's team investigated the incident, gathered all facts, and prepared

                   9 the CIRT Report. The CIRT Report set forth the CIRT team's version of the facts and then

                  10 analyzed these facts against LVMPD's policies and procedures. The CIRT team then

~                 11 documented policy violations and recommended policy changes in the GIRT Report.
z
w           ~ 12 Magistrate Ferenbach ordered that the GIRT Report's factual sections must be produced but

~         ~, ~ 13 instructed the LVMPD defendants to redact all sections titled "Analysis" and "Conclusions."
~1'~    N ~ M
       '~ 0~0 N
U Q,~~ 14       According to plaintiff, Magistrate Ferenbach erred because "facts and evidence are
~ ~~
~ ~zw 15 not protected by the deliberative process privilege." (ECF No. 51 at p.6:22-23 (citations
       a fir,
         on ,~
~ o>~ 16 omitted)). Lost on plaintiff is the fact that she has all the "purely factual material generated
cn~~~
H  a M

~   0 17 by CIRT." Plaintiff is only lacking the CIRT team's analysis and deliberations. In other
O~
~      18 words, plaintiff is only missing the CIRT team's opinions and recommendations -the exact
►~
       19 information protected by the deliberative process privilege.

                  20           Attached to LVMPD's opposition to the motion to compel is a declaration from

                  21    Sheriff Lombardo specifically addressing CIRT's and CIRP's relationship to the deliberate

                  22 process privilege. See Ex. A. Plaintiff's objection ignores this declaration and instead

                  23 argues that non-policymaker Detective Kirkegard's testimony defeats the privilege.

                  24 According to plaintiff, Detective Kirkegard testified (1) the CIRT Report is not "completely

                  25 confidential",(2) that CIRT statements might be used against defendant Lopera in criminal

                  26 court, (3) she was not part of the deliberation process as to whether the policies were

                  27
                                                              Page 9 of 12
                                                                                MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                 Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 10 of 18




             1~ ~ violated, and (4) she had never heard of the deliberate process privilege. (ECF No. 51 at

             2~ p.7:5-18.) Each of plaintiff's arguments is easily defeated.

             3          First, the CIRT Report is not "completely confidential" because the involved officers
             4 and the CIRP members get to review it before the CIRP process. Second, CIRT statements

             5 are kept confidential unless another law trumps its confidentiality such as Garrity warnings

             6 (see Garrity v. New Jersey, 385 U.S. 493 (1967)). Third, the CIRT detective only provides

             7 the information to the CIRP board members who then deliberate as to whether the facts

             8 constitute policy violations -thus, Detective Kirkegard did not deliberate with the CIRP

             9 members. Fourth, the fact that Detective Kirkegard has never heard of the deliberate

            10 process privilege is irrelevant because Sheriff Lombardo is the chief policymaker who

~           11 approves the CIRT and CIRP policies and procedures.
~~
w      ~ 12                     2.      Plaintiff knows the policy violations that LVMPD found.
O      °° 13
V    ~ N                Plaintiff's second argument is that Magistrate Ferenbach "failed to take into account
     ~ M


V Q,~~ 14 LVMPD's policies and policy violations, which are extremely relevant and important to
~ a~
~ ~z~
~a~~
     w 15 ~ plaintiff's Monell claim." (ECF No. 51 at p.8:1-3.) This argument is disingenuous.

~ o>~
  --~ c~ N
           16           Plaintiff has been provided all factual evidence regarding all policy violations found
~    a °~
~      ~ 17 by LVMPD against the involved officers. Further, plaintiff has been provided all evidence

~           18 and documents regarding any and all policy changes that resulted from the subject incident.
►!
            19 Plaintiff has been allowed to depose all defendants (except Lopera who has invoked his

            20 Fifth Amendment right) and question them regarding their discipline and policy violations.
            21 Again, all that plaintiff is lacking is the collaborative process and deliberations that occurred

            22 to determine the proper discipline for the officers and the proper policy changes. This is the

            23 exact information that the deliberative process privilege protects. Thus, plaintiff is not

            24 "completelX in the dark" as to the discipline and policy issues.

            25                  3.      Magistrate Ferenbach properly applied the nrivile~e.
            ~~          Both parties thoroughly briefed the deliberative process privilege issue before
            27 Magistrate Ferenbach. From the bench, Magistrate Ferenbach gave a thoughtful and
                                                         Page 10 of 12
                                                                               MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                      Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 11 of 18




                  1 carefully considered opinion. Plaintiff is upset that Magistrate Ferenbach "did not address

                  2 [her cited] cases..." There is no obligation that a magistrate judge must address both

                  3 parties' cited cases. Rather, the only obligation is that the magistrate judge apply the

                  4 deliberative process privilege in a reasonable manner. Here, it is clear that Magistrate

                  5 Ferenbach read the cases and then reviewed the GIRT Report and CIRP memorandums and

                 6 determined what information the privilege covered.           It is also clear from Magistrate

                  7 Ferenbach's oral pronouncements from the bench that he was familiar with the privilege and

                  8 how to apply it.

                 9 IV.       CONCLUSION
                 10          Based upon the above, Magistrate Ferenbach's order should be affirmed. Plaintiff's
~                11 objection does not set forth any grounds justifying setting the order aside.
~~
w              ~ 12          Dated this~day of March,2019.
O        `° 13
V       ~~
        ,_, M
                                                                   MARQUIS AURBACH COFFING
UQ~~ 14
      ~ ro

~ az w           IS
        o`~n                                                       By
      o ~ ~ 16                                                                R. derson, Esq.
cn~~~
N  aM                                                                   Nevada Bar No.6882
~   ~ 17                                                                10001 Park Run Drive
                                                                        Las Vegas, Nevada 89145
~
~`~              18                                                     Attorneys for Defendants LVMPD,
                                                                        Crumrine, Tran, and Flores
                 19
                20

                21

                22

                23

                24

                25

                26

                27
                                                             Page 11 of 12
                                                                                 MAC:14687-087 3673037 1 3/19/2019 11:39 AM
                   Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 12 of 18




               1                                CERTIFICATE OF SERVICE

               2         I hereby certify that I electronically filed the foregoing LVMPD DEFENDANTS'
               3 RESPONSE TO PLAINTIFF'S OBJECTION TO MAGISTRATE FERENBACH'S

               4 ORDER(ECF NO.48)PURSUANT TO LR IB 3-1(A) with the Clerk of the Court for the

               5 United States District Court by using the court's CM/ECF system on the ~ l ~fMarch,

               6 2019.

               7         ~       I further certify that all participants in the case are registered CM/ECF users

               8 and that service will be accomplished by the CM/ECF system.

               9                                      Andre M. Lagomarsino, Esq.
                                                           Lagomarsino Law
              10                                       aml@lagomarsino.law.com
                                                     denise@lagomarsinolaw.com
              11                                     jassell@lagomarsinolaw.com
r~
              12                                     justin@lagomarsinolaw.com
w
w                                                    skylar@lagomarsinolaw.com
O
V
         °° 13
        ~ N
                                                    Stephanie@lagomarsinolaw.com
          W
u    GJ ~ M
                                                  stephanielazo@lagomarsinolaw.com
V Q`~~ 14                                                 Attorney for Plaintiff
~~~~
~ az~~
    ~; w 15                                              Daniel R. McNutt, Esq.
    ~~                                                   Matthew C. Wolf, Esq.
~ o>o 16
    ~ N                                                drm@mcnuttla~rm.com
~     a °~
                                                        lah@mcnuttlawfirm.com
         N
              17
O~                                                     mcw@mcnuttla~rm.com
              18                                         cliftonwolf@gmail.com
►~                                                     jnw@mcnuttla~rm.com
              19                                     Attorney for Defendant Lopera

              20          ❑      I further certify that some of the participants in the case are not registered
              21 CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid,

              22 or have dispatched it to a third party commercial carrier for delivery within 3 calendar days

              23 to the following non-CM/ECF participants: n/a

              24

              25

              26                                               an employee of Marquis Aurbac             ffing


                                                         Page 12 of 12
                                                                             MAC:14687-087 3673037 1 3/19/2019 11:39 AM
Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 13 of 18




  Exhibit A —Declaration of
   Sheriff Joseph Lombardo
 Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 14 of 18




1                              DECLARA.7CION OF JOSEPH LOMBARDO

2           I, Joseph Lombardo,do hereby declare::

3            l:      Yam currently the duly elected Sheriff of Clark County, Nevada. I am the Chief

4    Law Enforcement Officer ofthe Las Vegas Metropolitan Police Department("LVMPD")pursuani

5    to NRS §280.121. I have personal knowledge of the facts stated herein, except for those stated on

6    information and belief, and, as to those, Y believe them to be true. I am competent.to testify as to

7    the facts stated herein in a court of law and will. so testify if called upon.

8            2.      This declaration is submitted in support of LVMPD's Opposition to Plaintiff's

9    Motion to Compel Defendant LVMPD's (1) GIRT Report;(2) GIRT Statement of Ken Lopera;

10   and.(3) Review Board Minutes and Documents.

11                                              GIRT BACKGROUND

12           3.      LVMPD's Critical Incident Review Team ("GIRT"j is an internal team 'that

13   investigates LVMPD officer uses of deadly force and other high-risk police operations.

14           4.      The purpose of GIRT is to candidly and objectively evaluate the officer's decision-

15   making; tactics, supervision, actual use of force, and other actions or approaches that could have

16   generated a different outcome to the critical incident.

17           5.      CIRT's conclusions, criticisms, and opinions are used to create and modify current.

18   LVMPD policies and training. In other words, CIRT's primary purpose is to improve LVMPD's

19   policies, training, and tactics to minimize risks.and maximize safety in future police operations.

2Q           6.      Due to CIRT's important role within LVMPD, GIRT was created with the

21   understanding that alI critical information generated by GIRT would be privileged.

22                                                  GIRT AND FIT

23           7.      In order to achieve the self-critical goals, GIRT works.closely with LVMPD's Force

24   Investigation Team ("FIT"). After any.use of deadly force by an officer; FIT conducts a criminal

25   investigation ofthe incident. The following explains the relationship between GIRT and FIT.

26           8.      When deadly force is-used by an officer, there are two distinct tracks of review by

27   LVMPD.

28

                                                    Page 1 of5
 Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 15 of 18




1            9.       The first track of review is conducted by FIT. The purpose of FIT is to gather all

2     available information and evidence to assist the District Attorney's Offce in determining whether

3     any cximinal conduct occurred during the. officer's -use of deadly force. In the Tashii .Farmer

4     incident, Trevor Alsup was the lead.FIT investigator.

5            10.      The second track.ofreview is handled by CIRT, The purpose ofGIRT is to improve

6     both individual and LVMPD performance.by evaluating LVMPD policies,training,and/or tactics.

7     Officer cooperation with GIRT ismandatory- not voluntary. Therefore, all participants are assured

8     of the privileged nature of GIRT in order to obtain candid and honest participation. The current

9     LVMPD policy regarding CIRT is found in LVMPD's Policy 5/109.02.

10           11:      Although the FIT and GIRT investigations are distinct and independent, there is

11    commonality between the two investigations.

12           12.      Once there- is an incident involving the use of deadly force, it is the :responsibility

13    of any officer on scene to secure the scene and immediately notify LVMPD Communications and

14    an immediate supervisor.

15           13.      The -first supervisor on scene assumes responsibility as the "incident commander."

16    In this capacity, the first supervisor addresses the most. imnnediate and urgent needs, such as

17    directing medical attention to those. who need it and continuing security of the scene. In

18.   conjunction,the first supervisox is directed to obtain a"Public Safety Statement"from the involved

19    officers. The Public Safety Statement consists of responses to pre-defined. series of questions

20    found in LVMPD Policy 6/002'.03.

21           14.      The infornnation acquired in the Public Safety Statement is consistent with the

22    initial objectives and responsibilities ofthe first supervisor: (1)determine the number and identity

23    of those.. needing medical .attention; (2) determine information about suspects who are not

24    accounted for; and(3)gather information necessary to secure the scene for further investigation.

25            15.     While the first supervisor is performing these tasks, LVIVIPD communications is

26    responsible for- notifying personnel who axe to respond to the scene. At this point FIT and CIRT

27    are notified.

28

                                                   'Page 2 of S
 Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 16 of 18




1            16.     Once all essential personnel -are on scene, an initial briefing is held. Both FIT and

2     CIRT attend the initial briefing.

3            1.7.    Following the initial briefing, FIT coordinates a wa11c-through ofthe scene with the
                                                                                                 there is
4     involved officer (the officer is allowed to refuse to participate in the walk-through). If
                                                                                                     the
5     more than one officer involved, multiple walk-throughs will be conducted. As noted above,
                                                                                                 to
6     walk-through is designed to identify locations where physical evidence might be found and.

7     provide FIT investigators with a general understanding of the scene. GIRT does- not accompany

8     any walk-through that includes an involved officer.         However, CIRT is later briefed .and

9     participates in awalk-through with FIT or crime scene analysts.

10            18.     At this point, the responsibilities and protocols of FIT and CIRT differ. FIT

11    continues its investigation for the presentation of its information to the District Attorney's Office.

12    Meanwhile, CIRT's involvement remains solely for internal review. FIT is required to share all
13    of its information with GIRT. CIRT, on the other hand, is strictly prohibited from sharing
14    compelled information from the-involved officers with FIT.
15            19.     There are critical differences between the FIT and CIRT procedures. The purpose

16.   and objective of the FIT process is to .gather information necessary to determine whether any
17    conduct of an officer involved in the deadly use of force constitutes a criminal act. Given the

18    criminal nature of the FIT process, the. officers are afforded the right to decline to submit to an
19    interview:

20            20.     The purpose and objective of the CIRT process is to evaluate the application,

21    misapplication, lapse or neglect of training, policies and procedures in order to determine whether

22    modifications of any internal rules or practices are required.         Contrary to FIT, given the

23    administrative nature of the CIR.T process, the involved officers in a deadly use of force are

24    compelled to submit themselves to an interview, as they are in the best position to assist. in the
25    improvement of internal procedures.
26            21.     Once FIT's investigation is complete, it turns the FIT report and accompanying

27    evidence to the District Attorney's Office for review. The District Attorney then determines

28    whether criminal charges are necessary and it holds a Fatality Review Board to make its findings

                                                   Page 3 of 5
  Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 17 of 18




 1    public. In the Tashii Farmer ease, the FIT investigators recommended criminal charges against.

 2    Kenneth Lopera.
 3           22.     CIRT does not complete its report until after the District. Attorney has issued its

 4    finding. The reason is because the criminal case takes precedence over any civil actions or

 5    administrative actions.

 6           23.     In this case, CIRT had access to alI ofthe information obtained by FIT. In addition,

 7    GIRT had access to the witness statements compelled by CIRT, Thus, the primary evidentiary

 8    difference between the FIT and GIRT investigations are the compelled statements..

 9           24.     Once the criminal investigation and CIRT investigations -are cgmplete, CIRT

10    creates its CIRT Report.

11           25.     The purpose of the GIRT Report is to report the facts of the in-custody death and
12    then analyze the facts for potential tactical errors, policy violations, or general areas where
13    improvements can be made. In addition, the CIRT Report.identifies tactics and policies.that. were

14 ' correctly applied.

15           26.     GIRT members are assured.ofthe privileged nature of-the reports and are forbidden

16    to disseminate the report, The reason is to ensure that CIRT is candid and.honest regarding their
17    evaluation. It is also to assure that GIRT is not concerned with potential legal or internal fallout
1.8   resulting from any opinions or decisions. In short, the goat of the GIRT report is to candidly,
19    honestly, and openly evaluate LVMPD's policies, training, tactics, and procedures with respect to

20    a specific event. CIRT then makes recommendations for future actions with respect to policies;

21    training, or procedures.

22                                CRITICAL INCIllENT REVIEW PROCESS

23           27.     After a CIRT report is completed, the matter is then moved to the Critical Incident

24    Review Process("CIRP").

25           28,     GIRD is conducted in two-parts. The.first part is the Use of Force Review Board;

26    which only evaluates the officers)that actually used force. The second part is the Tactical Review

27    Board, which evaluates -the performance of any officer involved in the critical incident.

28

                                                  Page4of5
     Case 2:18-cv-00860-GMN-VCF Document 53 Filed 03/19/19 Page 18 of 18




 1             29.      The involved officers are mandated to attend CIRP. Each involved officer is

2      allowed to view the CIRT Report, but the officers do not receive a copy of the GIRT Report.

3              30.      CIRP does not itself.create -any reports.

4              31.      The CIRT Report created in the. Tashii Farmer matter has. been kept confidential

 5 'I since its creation and finalization.

6              32.      I have personally reviewed the report. The report.analyzes the event and evaluates

7 ~ current training and policies. The report recommends changes to both policy and training.

 8             33.      Once GIRD is complete,a CONFIDENTIAL interoffice memorandum is completed

9       by both the Tactical Review Board and Use for Force Board chairperson. The memorandums are

10      provided to rne. The memorandums contain a brieffactual summary and a summary ,ofthe board

11      findings. I review the memorandums and then accept or reject-the board's recommendations.

1.2            34.      Once all matters related to the incident have. concluded,: LVMPD publishes a

13      summary including adopted policies, training changes and other adopted recommendations. In the

14 ', Tashii .Farmer case, policy changes, such as the reclassification of the Lateral Vascular Neck
15      Restrain# from a Toes-level use offorce to an intermediate use offorce, as well as officer discipline

i['f    have been made public. However, the process in reaching those decisions have been kept

17      confidential to protect the integrity of the process and to assure that future critical. incident

18      investigators will feel confident that their opinions and the decision making process will remain

19      confidential.

20             35.      I declare under penalty of perjury, under the laws of the State of Nevada(NRS
21      53.045),that the foregoing is true and correct.
22             Dated this._ day of January, 2019.

23

24
                                                       Joseph Lombardo
25

26
27

28

                                                     Page 5 of5
